      Case 2:18-cv-03478-NIQA         Document 65       Filed 04/14/25     Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 WAZEE STREET OPPORTUNITIES                      :             CIVIL ACTION
 FUND IV LP,                                     :
             Plaintiff                           :             NO. 18-3478
                                                 :
               v.                                :
                                                 :
 THE FEDERAL HOUSING                             :
 FINANCE AGENCY, et al.                          :
           Defendants                            :

                                              ORDER

       AND NOW, this 14th day of April 2025, upon consideration of Plaintiff Wazee Street

Opportunities Fund IV LP’s (“Plaintiff”) motion for leave to amend complaint, (ECF 58), and the

responses in opposition filed by Defendant Federal Housing Finance Agency, (ECF 61), and

Defendant Department of the Treasury, (ECF 62), it is hereby ORDERED that, for the reasons set

forth in the accompanying Memorandum Opinion, Plaintiff’s motion to amend is DENIED.



                                           BY THE COURT:


                                           /s/ Nitza I. Quiñones Alejandro
                                           NITZA I. QUIÑONES ALEJANDRO
                                           Judge, United States District Court
